                               CASE 0:10-cv-04268-JRT-JSM Doc. 4 Filed 01/06/11 Page 1 of 1
OAO450 (Rev. 5/85) Judgment in a Civil Case



                                                  UNITED STATES DISTRICT COURT
                                                          District of Minnesota


Beth Ann Bretoi
                                                                     JUDGMENT IN A CIVIL CASE

    V.
                                                                             Case Number: 10-4268 JRT/JSM
American Coradius International, LLC, Jane
Doe, John Doe, Katie Doe, Phil Martino, David
Rote, Bonnie Zimmerman




      Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and the jury
      has rendered its verdict.

X Decision by Court. This action came to trial or hearing before the Court. The issues have been tried or
  heard and a decision has been rendered.

      IT IS ORDERED AND ADJUDGED THAT:


      the above-entitled action against Defendants shall be and hereby is DISMISSED WITH PREJUDICE,
      without costs, disbursements, or attorney fees to any party.




                                January 6, 2011                                 RICHARD D. SLETTEN, CLERK
Date
                                                                                        s/LP Holden
                                                                      (By)                   LP Holden Deputy Clerk




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